200 F.2d 197
    GENERAL PETROLEUM CORPORATIONv.Ezra O. MOSS.
    No. 4525.
    United States Court of Appeals Tenth Circuit.
    September 19, 1952.
    
      Appeal from the United States District Court for the District of Utah.
      Faux, Rich &amp; Kirton, Salt Lake City, Utah, for appellant.
      Moyle &amp; Moyle, Salt Lake City, Utah, for appellee.
      Before PHILLIPS, Chief Judge, and KNOUS, District Judge.
      PER CURIAM.
    
    
      1
      Appeal dismissed September 19, 1952, pursuant to stipulation of the parties.
    
    